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12    WELLS FARGO BANK, N.A.

13
                                      UNITED STATES DISTRICT COURT
14
                                NORTHERN DISTRICT OF CALIFORNIA
15

16
      DANIEL KNIGHT,                                   Case No. 4:19-cv-02663-JSW
17
                         Plaintiff,                    STIPULATION FOR DISMISSAL AND
18                                                     ORDER THEREON
              v.
19
      WELLS FARGO BANK, N.A.; and
20    DOES 1 – 20,
21                       Defendants.
22           IT IS HEREBY STIPULATED by and between Plaintiff DANIEL KNIGHT and Defendant
23   Wells Fargo Bank, N.A., who have appeared in this action, through their undersigned counsel, that
24   the entire action be dismissed with prejudice pursuant to Federal Rule of Civil Procedure
25   41(a)(1)(ii).
26           IT IS FURTHER STIPULATED THAT the Court shall direct the clerk to enter an order
27   dismissing the entire action with prejudice.
28
      STIPULATION FOR DISMISSAL AND
      ORDER THEREON,
      Case No. 4:19-cv-02663-JSW
     US.128603645.01
            Case 4:19-cv-02663-JSW Document 35 Filed 07/08/20 Page 2 of 3



     1           IT IS FURTHER STIPULATED THAT each party shall bear their own costs and attorney’s
     2   fees.
     3
         Dated: July 8, 2020                     BULGUCHEVA LAW, P.C.
     4

     5                                           By:      /s/ Bulgucheva , Lilia
                                                       Lilia Bulgucheva
     6                                                 Attorney for Plaintiff DANIEL KNIGHT
     7
         Dated: July 8, 2020                     FAEGRE DRINKER BIDDLE & REATH LLP
     8

     9                                           By:      /s/ Semaan, Amanda
                                                       Ellen E. Boshkoff, Esq.
    10                                                 Amanda Semaan, Esq.
                                                       Attorneys for Defendant
    11                                                 WELLS FARGO BANK, N.A.
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    13                            ATTESTATION REGARDING SIGNATURES
    14           I, Lilia Bulgucheva, am the ECF User whose ID and password are being used to file this
    15   Joint Initial Case Management Conference Statement. Pursuant to L.R. 5-1(i)(3), I hereby attest
    16   that all signers have concurred in this filing.
    17   Dated: July 8, 2020                     BULGUCHEVA LAW, P.C.
    18
                                                 By:      /s/ Bulgucheva , Lilia
    19                                                 Lilia Bulgucheva
                                                       Attorney for Plaintiff DANIEL KNIGHT
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          STIPULATION FOR DISMISSAL AND                      2
          ORDER THEREON,
          Case No. 4:19-cv-02663-JSW
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     1                                                ORDER
     2           THE PARTIES HAVING STIPULATED THERETO, IT IS HEREBY ORDERED
     3   ADJUDGED AND DECREED THAT:
     4           1. The entire action be dismissed with prejudice pursuant to Federal Rule of Civil
     5               Procedure 41(a)(1)(ii).
     6           2. The clerk shall enter an order dismissing the entire action with prejudice.
     7           3. Each party shall bear its own costs and attorney’s fees.
     8           IT IS SO ORDERED.
     9
                  July 8, 2020
         Dated: ____________________                   ______________________________________
    10                                                 HON. JEFFREY S. WHITE
    11                                                 UNITED STATES DISTRICT COURT

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          STIPULATION FOR DISMISSAL AND                    3
          ORDER THEREON,
          Case No. 4:19-cv-02663-JSW
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